Case 1:25-cv-00883-JEB   Document 22-1   Filed 05/07/25   Page 1 of 7




                Exhibit 1
5/7/25, 5:19 PM      Case 1:25-cv-00883-JEB            Document  22-1
                                                           5 FAM 430     Filed
                                                                     RECORDS   05/07/25
                                                                             CREATION     Page 2 of 7



                                                     UNCLASSIFIED (U)


                                                     5 FAM 430
                                            RECORDS CREATION
                                                  (CT:IM-319; 05-30-2024)
                                                 (Office of Origin: A/GIS/IPS)


         5 FAM 431 GENERAL
         (CT:IM-289;             09-02-2022)
         a. Records created or received by Department personnel are a byproduct of the
            Department’s work that provide official historical evidence of major U.S.
            foreign policy decisions and significant diplomatic activities.
         b. All Department personnel must:
              (1) Provide evidence of their work when conducting U.S. Government
                  business that is complete and accurate to the extent required to
                  document the organization, functions, policies, decisions, procedures,
                  and essential transactions of the Department;
              (2) Use Department-approved systems, platforms, and applications to the
                  fullest extent possible to conduct Department business;
              (3) Accurately mark the classification and sensitivity of Department
                  information to ensure records are properly protected and enhance search
                  capabilities; and
              (4) Follow bureau or post internal procedures for naming conventions and
                  using filing structure(s) to ensure records are saved appropriately and
                  can be located when needed.
         c. The creation of records is essential to ensure important policies, decisions,
            and operations of the Department are adequately recorded:
              (1) Any information created for Department use and delivered to, or falling
                  under the legal control of the Department, including records created by
                  contactors performing work for, or on behalf of the Department, are
                  records and must be managed in accordance with Federal law,
                  Department policy and the appropriate records disposition schedule; and
              (2) Bureau offices and post sections must specify in contracts, the
                  government’s ownership of records and the delivery to the government of
                  all records necessary for the adequate and proper documentation of
                  contractor-operated agency activities and programs in accordance with
                  the requirements of the Federal Acquisition Regulation (FAR) and the
                  Department of State Acquisition Regulation (DOSAR).



https://fam.state.gov/fam/05fam/05fam0430.html                                                          1/6
5/7/25, 5:19 PM      Case 1:25-cv-00883-JEB      Document  22-1
                                                     5 FAM 430     Filed
                                                               RECORDS   05/07/25
                                                                       CREATION     Page 3 of 7


         d. The use of non-Department/official accounts, applications, or platforms,
            including personal email accounts or non-Government messaging applications
            should never be the primary means of conducting Department business.
            (See 5 FAM 434 for guidance on the use of non-government accounts.)
         e. The content of information and the context in which it is created determines
            whether the information meets the definition of a record. Therefore, the
            recording of activities of officials of the Department should be complete to the
            extent necessary to:
              (1) Identify the persons, organizations, places, and topics deliberated by
                  Department personnel or representatives;
              (2) Facilitate the making of decisions and policies and the taking of action by
                  the incumbents and their successors in office;
              (3) Fulfill the requirements of Federal statutes;
              (4) Make possible a proper scrutiny by Congress and other duly authorized
                  agencies of the U.S. Government of the manner in which the functions of
                  the Department have discharged;
              (5) Protect the financial, legal and other rights of the U.S. Government and
                  of the persons directly affected by the actions of the Department; and
              (6) Provide appropriate documentary materials for research and other
                  historical purposes.
         f. The standard for determining whether electronic information meets the
            definition of a “record” under the Federal Records Act is the same standard
            that applies to all other types of Department records regardless of whether it
            was created, transmitted, or stored on:
              (1) Email;
              (2) Government-approved systems and platforms (Including Cloud Services);
              (3) Government-issued devices;
              (4) Websites;
              (5) SharePoint sites;
              (6) Shared drives;
              (7) Video and audio recordings;
              (8) Photographs;
              (9) Electronic messaging applications;
              (10) Social media sites; and
              (11) Personal devices.


         5 FAM 432 DEPARTMENT’S CENTRAL EMAIL
         ARCHIVE

https://fam.state.gov/fam/05fam/05fam0430.html                                                    2/6
5/7/25, 5:19 PM      Case 1:25-cv-00883-JEB      Document  22-1
                                                     5 FAM 430     Filed
                                                               RECORDS   05/07/25
                                                                       CREATION     Page 4 of 7


         (CT:IM-289;             09-02-2022)
         a. All emails and attachments that are created or received to conduct
            Department business, are Federal records.
         b. Effective January 1, 2017, the Department’s central email system
            automatically captures, manages, and preserves all emails sent and received
            on OpenNet and ClassNet into a central archive. Consequently, it is no longer
            required to print and file such emails.
         c. The Department follows the General Records Schedule (GRS) 6.1: Email
            Managed under a Capstone Approach, which stipulates that:
              (1) Capstone officials are agency personnel occupying senior positions,
                  typically at the Deputy Assistant Secretary (DAS) or DAS-equivalent level
                  and above domestically, and ambassadors, deputy chiefs of mission
                  (DCMs) and principal officers overseas, who are notified in writing of their
                  designation:
                     (a) Emails of capstone officials are retained by the Department for 25
                         years after the end of tenure and then transferred to NARA;
                     (b) Emails of capstone officials sent or received prior to December 31,
                         2016, must be exported electronically and retired to A/GIS/IPS/RA
                         prior to the official’s end-of-tenure; and
                     (c) The Agency Records Officer must be notified if personnel are in an
                         acting capacity for a capstone official for longer than 60 days to
                         ensure their position is reflected as such in the email system;
              (2) Non-capstone officials are all other Department email account users.
                  Their emails will be retained for seven years from the date sent or
                  received and then automatically deleted;
              (3) It remains a non-capstone official's obligation and responsibility to
                  ensure emails sent and received prior to December 31, 2016, are
                  preserved pursuant to the appropriate records disposition schedule;
              (4) Emails and attachments of non-capstone officials must be preserved
                  outside of an official’s email account pursuant to the Department’s
                  records disposition schedules if:
                     (a) The official is departing from a specific office and/or the Department;
                         or
                     (b) The official has emails that are seven years old that require retention
                         beyond seven years; and/or
                     (c) In either case, the emails at issue should be saved in an accessible
                         electronic format outside of the official’s email account in a location
                         that is accessible to the office to which the records belong, such as
                         the relevant office’s shared drive files or folder, or appropriately
                         retired if required by the relevant records disposition schedule.




https://fam.state.gov/fam/05fam/05fam0430.html                                                     3/6
5/7/25, 5:19 PM      Case 1:25-cv-00883-JEB      Document  22-1
                                                     5 FAM 430     Filed
                                                               RECORDS   05/07/25
                                                                       CREATION     Page 5 of 7



         5 FAM 433 USING EMAIL SYSTEMS OUTSIDE OF
         THE OPENNET AND CLASSNET STATE.GOV
         DOMAINS (CENTRAL EMAIL SYSTEM)
         (CT:IM-319;             05-30-2024)
         a. All email systems outside of the OpenNet and ClassNet State.gov domains
            (Central Email System) must be managed under the Capstone Approach
            (General Records Schedule 6.1: Email Managed under a Capstone Approach).
         b. Executive directors and management officers must notify the Agency Records
            Officer via records@state.gov, of active or proposed custom email systems
            that augment the Department’s Centralized Email System.
         c. Custom email systems must comply with the system requirements in 5 FAM
            444.
         d. All email servers that are outside the .gov domain must be fitted for
            automated records management by automatically integrating all emails sent
            or received by those servers into the central eRecords archives, either
            through email journaling or an equivalent mechanism.


         5 FAM 434 PERSONAL EMAIL ACCOUNTS
         (CT:IM-289;             09-02-2022)
         a. All Department personnel with an official State Department email account are
            discouraged from using a personal email account(s) (e.g., Gmail, AOL,
            Hotmail, contracting company accounts, etc.) to conduct U.S. Government
            business.
         b. Convenience is not an appropriate reason to utilize a personal email account
            in lieu of an official email account.
         c. Personal email accounts are only to be used to conduct official business in
            very limited circumstances. Examples include but are not limited to:
              (1) Temporary system outages; or
              (2) Times when access to Department systems is limited or restricted.
         d. When it becomes necessary to use a personal account, an individual must:
              (1) Include his or her official U.S. Government email account (e.g.,
                  state.gov) on the TO, CC, or BCC line during the original creation,
                  transmission, or reply;
              (2) If the sender fails to include his or her official U.S. Government email
                  account during the original creation or transmission, forward a complete
                  version of work-related email (including any attachments) to his or her
                  official U.S. Government email account no later than 20 calendar days
                  after the original creation or transmission;



https://fam.state.gov/fam/05fam/05fam0430.html                                                    4/6
5/7/25, 5:19 PM      Case 1:25-cv-00883-JEB      Document  22-1
                                                     5 FAM 430     Filed
                                                               RECORDS   05/07/25
                                                                       CREATION     Page 6 of 7


              (3) For work-related emails older than 20 days, immediately forward a
                  complete version (including any attachments) to his or her official email
                  account; and
              (4) Delete all work-related emails from the personal account after its
                  successful transmittal to a government email account (e.g., state.gov)
                  when no longer needed for continuity or reference.


         5 FAM 435 NON-GOVERNMENT ELECTRONIC
         MESSAGING APPLICATIONS AND PLATFORMS
         (CT:IM-289;             09-02-2022)
         a. All Department personnel are generally prohibited from conducting official
            Department business on any electronic messaging (eMessaging) application
            that does not allow communications to be archived by, for example, use of an
            “export” feature for messages or chains of messages or copying and pasting
            text onto a state.gov email.
         b. If there is no alternative source and the use of such application or platform is
            critical to carrying out the Department’s mission, contact the Department’s
            records office at records@state.gov immediately.
         c. When conducting Department business, the use of non-official eMessaging
            account, application or platform (with archive and/or export functionality) is
            permitted under the following circumstances:
              (1) The application or platform is the only means of communication our
                  partner is willing to use or the primary means that a group of partners is
                  using (e.g., during a negotiation); or
              (2) Engagement is greatly enhanced by using such means of communication
                  to carry out the Department’s mission, such as the following activities:
                     (a) Performing consular engagement with citizen liaison volunteers
                         (CLVs), local hospitals, immigration contacts, and other specialized
                         constituencies;
                     (b) Promoting upcoming events, conducting public engagements, and
                         other public affairs and public diplomacy matters;
                     (c) Communicating during emergency, contingency, and continuity
                         events (e.g., evacuations, natural disasters, staff accountability,
                         etc.); or
                     (d) Coordinating routine logistics or operations.
         d. Regardless of the circumstances, when non-Government eMessaging
            applications and platforms are used to conduct Department business, each
            individual Department user included in the group message must capture the
            records on official Department systems as follows:




https://fam.state.gov/fam/05fam/05fam0430.html                                                    5/6
5/7/25, 5:19 PM      Case 1:25-cv-00883-JEB       Document  22-1
                                                      5 FAM 430     Filed
                                                                RECORDS   05/07/25
                                                                        CREATION     Page 7 of 7


              (1) Records must be copied or forwarded from the non-Government
                  application or platform to the individual’s own state.gov account at the
                  time of transmission or within 20 calendar days of creation or receipt;
              (2) After successfully forwarding or copying, delete the message from the
                  non-government messaging application when no longer needed for
                  continuity or reference; and/or
              (3) For platform-specific directions, use the following guidance document:
                  Records Management Guidance for eMessaging.
         e. Department personnel are not required to forward messages that relate to
            routine logistical activities that do not provide evidence of substantive
            Department business and/or whose value to the Department is minimal and
            of a particularly short-term nature. These are considered transitory records
            and may be deleted from the messaging application no later than 20 days
            after the original transmission.
         f. NOFORN information may not be transmitted on non-government accounts,
            applications, or platforms.
              (1) NOFORN is a type of SBU information that warrants a degree of
                  protection greater than that of standard SBU information; and/or
              (2) Therefore, employees must process and transmit SBU/NOFORN
                  information only on a system authorized by the Department for classified
                  information transmission, storage, and processing. (See 12 FAM 545 for
                  more information on NOFORN.)


         5 FAM 436 USING VIDEO CONFERENCING
         TOOLS AND PLATFORMS
         (CT:IM-289;             09-02-2022)
         a. Video conferencing tools and platforms (e.g., Microsoft Teams, Adobe
            Connect, WebEx, Google Meet, etc.) allow Department personnel to
            communicate remotely with one another to conduct work meetings,
            conferences, seminars, training sessions, and other activities.
         b. Records created using any of the approved conferencing tools must follow the
            same retention requirements as records created elsewhere and may be
            subject to access requests under Freedom of Information Act (FOIA) or a
            litigation hold.


         5 FAM 437 THROUGH 439 UNASSIGNED
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https://fam.state.gov/fam/05fam/05fam0430.html                                                     6/6
